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 SOUTHERN DISTRICT OF NEW YORK                                      i i ~"( )(          +i •

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 EDWIN CALA, individually and on behalf of                      !
 others similarly situated,

                                       Plaintiff,
                                                                    Case: 21-CV-6890
                  -against-

 BUENA VISTA TORTILLAS CORP. (D/B/A                          CERTIFICATE OF DEFAULT
 BUENA VISTA TORTILLAS
 CORPORATION), NOE BALTAZAR, and
 MICHAELA VARGAS,

                                       Defendants.
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        I, RUBY J. KRAJICK, Clerk of the United States District Court for the Southern District

of New York, do hereby certify that this action was commenced on August 16, 2021 with the filing

of a summons and complaint; that an amended complaint was filed on August 17, 2021, that a

copy of the summons and amended complaint was served, pursuant to Fed. R. Civ. P. 4( e )(1 ), on

Defendant Noe Baltazar on September 30, 2021 by personally leaving a copy with Ms. Jennifer, a

person of suitable age and discretion, who identified herself as a coworker and depositing true

copies of the same in a post office or official depository under exclusive care and custody of the

U.S. Postal Service within New York State on September 30, 2021 by regular first class mail; and

proof of such service on the said Defendant was filed on April 8, 2022. (Dkt. No. 32)



        I further certify that the docket entries indicate that the above named Defendant has not

filed an answer or otherwise moved with respect to the complaint herein. The default of the

Defendant Noe Baltazar is hereby noted.


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